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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF MISSISSIPPI
                               GREENVILLE DIVISION


FREDERICK WHITE,

       Plaintiff,
                                                        CASE NO.: 4:17-cv-143-NBB-JMV

-vs-

ALLY FINANCIAL, INC.,

       Defendant.
                                         /

                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       COMES NOW the Plaintiff, FREDERICK WHITE, by and through his undersigned

attorney, in the above-titled action and represents to the Court that this matter has been resolved

between the parties, and requests an entry of a Final Order of Dismissal with Prejudice in this

matter as to Ally Financial, Inc., with each party to bear its own costs and attorneys’ fees except

as otherwise agreed to by the parties.


                                             /s/ Shaughn C. Hill, Esq.
                                              SHAUGHN C. HILL, ESQ.
                                              Morgan & Morgan, Tampa, P.A.
                                              One Tampa City Center
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                                              Florida Bar #: 105998
                                              Attorney for Plaintiff
                                              Admitted Pro Hac Vice
      Case: 4:17-cv-00143-NBB-JMV Doc #: 7 Filed: 08/24/18 2 of 2 PageID #: 27



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

U.S. Mail this 24th day of August, 2018 to: Eric J. Troutman,3200 Park Center Drive, Suite 700,

Costa Mesa, CA, 92626.


                                            /s/Shaughn C. Hill, Esq.
                                            Shaughn C. Hill, Esq.
                                            Florida Bar No.:105998
                                            Attorney for Plaintiff
                                            Admitted Pro Hac Vice
